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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

              Plaintiff,

  v.                                       Criminal Action No. 2:00CR7-12
                                                                  (STAMP)
  KEVIN A. RIDEOUT,

              Defendant.


                        MEMORANDUM OPINION AND ORDER
               DENYING MOTION TO RECONSIDER ORDER OF DENIAL
                  OR, ALTERNATIVELY, MOTION TO RECONSIDER

                                I.   Background

        On May 11, 2001, the pro se1 defendant was found guilty by a

  jury in the Northern District of West Virginia for one count of

  cocaine conspiracy in violation of 21 U.S.C. § 846, and three

  counts of aiding and abetting in the distribution of crack cocaine

  in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.                 The

  defendant was sentenced to 262 months of incarceration for the

  cocaine conspiracy count and 240 months of incarceration for the

  three counts of aiding and abetting in the distribution of crack

  cocaine, to run concurrently.

        On July 6, 2010, this Court entered an order granting in part

  and denying in part the defendant’s motion for an order to disclose

  transcripts and tangible documents. Currently before this Court is

  the defendant’s motion to reconsider that order of denial or,



        1
        “Pro se” describes a person who represents himself in a court
  proceeding without the assistance of a lawyer.         Black’s Law
  Dictionary 1341 (9th ed. 2009).
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  alternatively, motion to reconsider.         No response was filed.      For

  the reasons set forth below, this Court denies the defendant’s

  motion to reconsider order of denial or, alternatively, motion to

  reconsider.

                                II.   Discussion

        “[T]he Federal Rules of Criminal Procedure do not specifically

  provide for motions for reconsideration and prescribe the time in

  which they must be filed.”       Nilson Van & Storage Co. v. Marsh, 755

  F.2d 362, 364 (4th Cir. 1985).       However, a motion for rehearing or

  reconsideration in a criminal case extends the time for filing a

  notice of appeal if the motion is filed before the order sought to

  be reconsidered becomes final.        See United States v. Ibarra, 502

  U.S. 1, 4 n.2 (1991).

        The defendant requests that this Court provide him specific

  documents that were denied to him by this Court’s July 6, 2010

  order.   Upon review of the defendant’s arguments, this Court finds

  no cause to reconsider its original order.             This Court has not

  misapprehended the defendant’s position or misinterpreted the

  applicable law in this case.           Further, the defendant has not

  presented any new evidence to persuade this Court to alter its

  decision.    Thus, the defendant’s motion must be denied.

                               III.   Conclusion

        For the reasons set forth above, the defendant’s motion to

  reconsider order of denial or, alternatively, motion to reconsider

  is DENIED.



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        Should the defendant choose to appeal the judgment of this

  Court to the United States Court of Appeals for the Fourth Circuit,

  to the extent that this matter is appealable, he is ADVISED that he

  must file a notice of appeal with the Clerk of this Court within

  ten days after the date that the order in this case is entered.

  See Fed. R. App. P. 4(b)(1).

        IT IS SO ORDERED.

        The Clerk is directed to transmit a copy of this order to the

  pro se defendant by certified mail and to counsel of record herein.

        DATED:      August 16, 2010



                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




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